       Case: 22-1421     Document: 112        Page: 1     Filed: 08/08/2024




                           Nos. 22-1421, -1573

                                    IN THE
United States Court of Appeals for the Federal Circuit
                                 SONOS, INC.,
                                                                     Appellant,
                                        v.
                INTERNATIONAL TRADE COMMISSION,
                                                                      Appellee,
                                GOOGLE LLC,
                                                                       Intervenor.
              ----------------------------------------------------------
                                 GOOGLE LLC,
                                                                         Appellant,
                                          v.
                INTERNATIONAL TRADE COMMISSION,
                                                                      Appellee,
                                SONOS, INC.,
                                                                    Intervenor.

          On Appeal from the United States International
               Trade Commission No. 337-TA-1191

               SONOS, INC.’S RESPONSE TO
            PETITION FOR REHEARING EN BANC

George I. Lee                     E. Joshua Rosenkranz
Sean M. Sullivan                  Edmund Hirschfeld
J. Dan Smith                      Alexandra Bursak
LEE SULLIVAN SHEA &                ORRICK, HERRINGTON &
  SMITH LLP                         SUTCLIFFE LLP
656 W Randolph St., Floor 5W      51 West 52nd Street,
Chicago, IL 60661                 New York, NY 10019
                                  (212) 506-5000
                                  jrosenkranz@orrick.com
             Additional Counsel Listed on Inside Cover
Case: 22-1421   Document: 112   Page: 2   Filed: 08/08/2024




                            Robbie Manhas
                            Abigail Colella
                            ORRICK, HERRINGTON &
                              SUTCLIFFE LLP
                            2100 Pennsylvania Avenue, NW
                            Washington, DC 20037

                            Clement S. Roberts
                            ORRICK, HERRINGTON &
                              SUTCLIFFE LLP
                            405 Howard Street
                            San Francisco, CA 94105

                            Bas de Blank
                            ORRICK, HERRINGTON &
                              SUTCLIFFE LLP
                            1000 Marsh Road
                            Menlo Park, CA 94025

                            Alyssa M. Caridis
                            ORRICK, HERRINGTON &
                              SUTCLIFFE LLP
                            355 S. Grand Avenue
                            Suite 2700
                            Los Angeles, CA 90071

    Counsel for Appellant-Intervenor Sonos, Inc.
              Case: 22-1421         Document: 112    Page: 3   Filed: 08/08/2024



FORM 9. Certificate of Interest                                                    Form 9 (p. 1)
                                                                                    March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 22-1421, -1573
   Short Case Caption Sonos, Inc. v. International Trade Commission
   Filing Party/Entity Sonos, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        08/08/2024
  Date: _________________                    Signature:   /s/ E. Joshua Rosenkranz

                                             Name:        E. Joshua Rosenkranz




                                               i
              Case: 22-1421           Document: 112      Page: 4      Filed: 08/08/2024



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in            3. Parent Corporations
         Entities.                            Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented by          all real parties in interest    all parent corporations for
 undersigned counsel in               for the entities. Do not list   the entities and all
 this case.                           the real parties if they are    publicly held companies
                                      the same as the entities.       that own 10% or more
                                                                      stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable           ‫ ܆‬None/Not Applicable

Sonos, Inc.                                                           BlackRock Inc.




                                  ‫܆‬      Additional pages attached




                                                   ii
              Case: 22-1421       Document: 112      Page: 5   Filed: 08/08/2024



FORM 9. Certificate of Interest                                                    Form 9 (p. 3)
                                                                                    March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable               ‫܆‬        Additional pages attached

Lillian J. Mao                    Shane D. Anderson            Margaret Abernathy

Michael P. Boyea                  Jae Y. Pak




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                           ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable               ‫܆‬        Additional pages attached




                                               iii
             Case: 22-1421         Document: 112          Page: 6       Filed: 08/08/2024




                                 TABLE OF CONTENTS

                                                                                                   Page

CERTIFICATE OF INTEREST .................................................................. i
TABLE OF AUTHORITIES ....................................................................... v
INTRODUCTION ....................................................................................... 1
BACKGROUND .......................................................................................... 2
REASONS FOR DENYING THE PETITION ........................................... 4
       I.      Loper Bright Does Not Provide A Basis To Reconsider
               Suprema. .................................................................................. 4
               A.      Suprema remains good law because of statutory
                       stare decisis. .................................................................... 5
               B.      Even without deference, Suprema adopted
                       Section 337’s best reading. ............................................. 8
       II.     This Case Is the Wrong Vehicle For Reconsidering
               Suprema. ................................................................................ 15
CONCLUSION ......................................................................................... 20
CERTIFICATE OF COMPLIANCE




                                                   iv
              Case: 22-1421           Document: 112          Page: 7       Filed: 08/08/2024




                                 TABLE OF AUTHORITIES

                                                                                                   Page(s)

Cases

Cathedral Candle Co. v. ITC,
  400 F.3d 1352 (Fed. Cir. 2005) ............................................................ 14

Certain Inclined-Field Acceleration Tubes,
  Inv. No. 337-TA-67, Comm’n Op., 0080 WL 594319 (Dec.
  29, 1980) ............................................................................................... 12

Certain Molded-in Sandwich Panel Inserts & Methods for
  Their Installation,
  Inv. No. 337-TA-99, Comm’n Op., 1982 WL 61887 (Apr. 9,
  1982) ..................................................................................................... 12

Certain Surveying Devices,
  Inv. No. 337-TA-68, Comm’n Op., 0080 WL 594364 (July
  7, 1980) ................................................................................................. 12

Enzo Biochem, Inc. v. Gen-Probe Inc.,
  323 F.3d 956 (Fed. Cir. 2002) .............................................................. 16

Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co.,
  535 U.S. 722 (2002) ................................................................................ 7

Halliburton Co. v. Erica P. John Fund, Inc.,
  573 U.S. 258 (2014) ................................................................................ 5

John R. Sand & Gravel Co. v. United States,
  552 U.S. 130 (2008) ................................................................................ 7

Kimble v. Marvel Ent., LLC,
  576 U.S. 446 (2015) ................................................................................ 6

Loper Bright Enters. v. Raimondo,
  144 S. Ct. 2244 (2024) .................................................... 1, 5, 6, 8, 14, 16

Mannesmann Demag Corp. v. Engineered Metal Prods. Co.,
  793 F.2d 1279 (Fed. Cir. 1986) ............................................................ 10

                                                       v
             Case: 22-1421          Document: 112          Page: 8      Filed: 08/08/2024




Moleculon Rsch. Corp. v. CBS, Inc.,
  793 F.2d 1261 (Fed. Cir. 1986) ............................................................ 10

Oklahoma v. U.S. Dep’t of Health & Hum. Servs.,
  No. 24-6063, 2024 WL 3405590 (10th Cir. July 15, 2024) ................... 6

Payne v. Tennessee,
  501 U.S. 808 (1991) ................................................................................ 7

Robert Bosch, LLC v. Pylon Mfg. Corp.,
  719 F.3d 1305 (Fed. Cir. 2013) .............................................................. 7

Standard Oil Co. v. Nippon Shokubai Kagaku Kogyo Co.,
  754 F.2d 345 (Fed. Cir. 1985) .............................................................. 10

Suprema, Inc. v. ITC,
  796 F.3d 1338 (Fed. Cir. 2015) ........................ 1, 8, 9, 10, 11, 12, 13, 15

Toshiba Corp. v. Imation Corp.,
  681 F.3d 1358 (Fed. Cir. 2012) ............................................................ 12

United States v. Am. Trucking Ass’ns,
  310 U.S. 534 (1940) .............................................................................. 14

Vanda Pharms. Inc. v. W.-Ward Pharms. Int’l Ltd.,
  887 F.3d 1117 (Fed. Cir. 2018) ............................................................ 12

Water Techs. Corp. v. Calco, Ltd.,
  850 F.2d 660 (Fed. Cir. 1988) .............................................................. 10

Young Eng’rs Inc. v. ITC,
  721 F.2d 1305 (Fed. Cir. 1983) ............................................................ 12

Statutes

19 U.S.C. § 1335.......................................................................................... 8

19 U.S.C. § 1337(a)(1) ................................................................................. 9

19 U.S.C. § 1337(a)(1)(B) ............................................................................ 9

28 U.S.C. § 1659(a) ..................................................................................... 2


                                                    vi
             Case: 22-1421          Document: 112         Page: 9       Filed: 08/08/2024




35 U.S.C. § 271...................................................................................... 9, 13

35 U.S.C. § 271(a) ..................................................................................... 11

Omnibus Trade and Competitiveness Act of 1988, Pub. L.
  No. 100-418, 102 Stat. 1107................................................................. 13

Tariff Act of 1930, Pub. L. No. 71-361, 46 Stat. 590 ............................... 12

Other Authorities

Causes of Action Under Section 337, USITC GC-G-243, 1983
  WL 206913 (Sept. 30, 1983) ................................................................. 13

H.R. Rep. No. 100-40, pt. 1 (1987) ........................................................... 14




                                                   vii
         Case: 22-1421   Document: 112   Page: 10   Filed: 08/08/2024




                           INTRODUCTION

     Google urges this Court to reconsider its en banc decision in

Suprema, Inc. v. ITC, 796 F.3d 1338 (Fed. Cir. 2015), just because that

decision invoked Chevron, as this Court has done with scores of

statutory provisions over the past half century. Chevron’s demise in

Loper Bright Enterprises v. Raimondo, 144 S. Ct. 2244 (2024), is no

basis to reconsider all those cases. As the Supreme Court recognized,

such decisions remain protected by statutory stare decisis—a doctrine

Google does not even try to satisfy—and Suprema is especially

protected, as it is an en banc decision continuing a decades-old practice

that Congress has declined to change. Regardless, this Court need not

reconsider Suprema because it reached the right statutory construction.

     Even if this Court were inclined to reconsider Suprema, there is

no reason to rush to do it here, and good reason not to. This case is

already largely moot: All but two asserted patents have expired, and

infringement of only one rests on Suprema. Meanwhile, wholesale

mootness will soon arrive: There is a significant chance that the solely

relevant patent will become moot before this Court has an opportunity

to decide the case en banc, as that patent expires in 10 months, and



                                    1
         Case: 22-1421   Document: 112   Page: 11   Filed: 08/08/2024




imminent developments in district court may lead Sonos to stipulate to

non-enforcement of the exclusion order with respect to that patent

anyway. This Court should wait to review a panel opinion that is

informed by this Court’s development of the Loper Bright framework,

and, if appropriate, revisit Section 337’s construction in a case where

the Suprema issue matters and is sure to stay alive.

                            BACKGROUND

     On January 7, 2020, Sonos filed a complaint in the International

Trade Commission based on Google’s infringement of five Sonos patents

related to smart speakers: U.S. Patent Nos. 8,588,949, 9,195,258,

9,219,959, 10,209,953, and 10,439,896. Appx387, Appx396-450. The

complaint sought the Commission’s only remedy—exclusion of Google’s

infringing products under Section 337. Id. Simultaneously, Sonos filed

a district-court suit seeking damages for the same infringement. See

generally Sonos, Inc. v. Google LLC, No. 2:20-cv-00169 (C.D. Cal.). The

district court promptly stayed that suit pending resolution of the

Commission proceeding as required by 28 U.S.C. § 1659(a). That was

more than four and a half years ago. Commission remedies are




                                    2
         Case: 22-1421   Document: 112   Page: 12   Filed: 08/08/2024




supposed to be quick. But the COVID-19 pandemic caused extensive

delays, as did this appeal.

     The Commission’s Final Determination ruled that all five of

Sonos’s patents are valid, and that Google’s original products infringed

across the board and must be excluded. Appx23. But the Commission

found that minor tweaks could avoid infringement, so trivial redesigns

continue to flood the U.S. market. Appx23, Appx38.

     As to Suprema, the Commission found that Google’s original

products infringed three of the five patents at importation because the

products were manufactured with software enabling the claimed

functionality—which is all the claims require. Appx17-21, Appx170-173

(discussing the ’959, ’258, and ’953 patents). For the remaining two

patents—the ’896 and ’949—the Commission relied solely on the theory

that Google induced infringement after importation by encouraging

users to install the Google Home app. Appx197-199, Appx228-229.

     This Court fully affirmed the Commission’s decision. Google

sought rehearing on the Suprema issue, in anticipation of Chevron’s

demise, shortly before the Supreme Court issued Loper Bright.




                                    3
         Case: 22-1421   Document: 112   Page: 13   Filed: 08/08/2024




     This case is now a husk of its former self. Three patents—the

’949, ’258, and ’953—have expired since Sonos filed its complaint in

January 2020, and Google concedes that this appeal is moot as to them

all. Pet. 5, 6 n.2. Of the two remaining patents, only the ’896 patent’s

infringement theory turns on Google’s post-importation conduct and

therefore implicates Suprema. The ’896 patent will also soon expire, on

June 6, 2025 (a mere 10 months from now). See Appx10156-10157.

Meanwhile, Sonos derives no benefit from the exclusion order on that

patent because Google imports its redesign with no noticeable change in

function.

     In the stayed district-court action, Sonos intends to file a motion

to proceed with trial on the three expired patents.

             REASONS FOR DENYING THE PETITION

I.   Loper Bright Does Not Provide A Basis To Reconsider
     Suprema.

     This Court should deny Google’s petition because it rests on a

flawed syllogism: that just “[b]ecause Chevron is no longer good law,”

“Suprema is no longer viable.” Google 28(j) Ltr. 1-2; see, e.g., Pet. 9.

That syllogism makes two unjustified leaps. First, Google ignores that

Suprema’s result is protected by statutory stare decisis. § I.A. Second,


                                     4
          Case: 22-1421   Document: 112   Page: 14   Filed: 08/08/2024




even to the extent the Commission is owed no deference, Suprema

adopted Section 337’s best reading. § I.B.

     A.     Suprema remains good law because of statutory stare
            decisis.

     This Court has cited Chevron over 500 times in the past 40 years,

deferring to agency interpretations of scores of statutory provisions. By

Google’s analysis, this Court must go en banc to reconsider every case

that deferred under Chevron.

     Google is wrong. The Supreme Court explicitly stated in Loper

Bright that “we do not call into question prior cases that relied on the

Chevron framework.” 144 S. Ct. at 2273. The Court emphasized that

precedents are still subject to “statutory stare decisis,” which prohibits

courts from overruling their own statutory interpretations without a

“‘special justification.’” Id. (quoting Halliburton Co. v. Erica P. John

Fund, Inc., 573 U.S. 258, 266 (2014)). The Court explained:

     Mere reliance on Chevron cannot constitute a “‘special
     justification’” for overruling [a prior] holding, because to say a
     precedent relied on Chevron is, at best, “just an argument that the
     precedent was wrongly decided.” … That is not enough to justify
     overruling a statutory precedent.

Id. (citations omitted). As this passage shows, the Court did not limit

its assurance to holdings about “‘specific agency actions,’” as Google


                                     5
         Case: 22-1421    Document: 112   Page: 15   Filed: 08/08/2024




asserts. Google 28(j) Ltr. 2 (quoting Loper Bright, 144 S. Ct. at 2273).

That is just one category of holdings unaffected by Loper Bright.

Statutory stare decisis and its “special justification” requirement are

fundamentally about insulating statutory interpretations, like

Suprema’s, from reconsideration. See Oklahoma v. U.S. Dep’t of Health

& Hum. Servs., No. 24-6063, 2024 WL 3405590, at *11-12 & n.16 (10th

Cir. July 15, 2024) (applying Loper Bright to treat as good law Chevron-

reliant precedent holding that “HHS could enact requirements on

counseling and referrals” for Title X funding).

      Google says that Suprema’s interpretation was incorrect. Pet. 10.

We refute that below. But what matters for present purposes is that

“‘wrong on the merits’-type arguments” have never been enough to

overrule a precedent—especially a statutory precedent. Kimble v.

Marvel Ent., LLC, 576 U.S. 446, 462 (2015). The “special justification”

requirement derives from the recognition that “[r]especting stare

decisis means sticking to some wrong decisions.” Id. at 455. “The

doctrine rests on the idea, as Justice Brandeis famously wrote, that it is

usually ‘more important that the applicable rule of law be settled than

that it be settled right.’” Id.



                                     6
         Case: 22-1421   Document: 112   Page: 16   Filed: 08/08/2024




     Statutory precedents are especially durable because “‘Congress

remains free to alter what [the courts] have done.’” Robert Bosch, LLC

v. Pylon Mfg. Corp., 719 F.3d 1305, 1317 (Fed. Cir. 2013) (quoting John

R. Sand & Gravel Co. v. United States, 552 U.S. 130, 139 (2008)). The

very least Google must show is that Suprema was so fundamentally

wrong from inception, so unworkable in experience, and so problematic

that it is entitled to no respect. Google does not even try to do so.

     If anything, Suprema is shielded by statutory stare decisis of

exceptional heft for several reasons. First, stare decisis from an en banc

decision is especially “weighty.” Robert Bosch, 719 F.3d at 1316.

Second, Congress has declined to change that interpretation, despite

having ample opportunity to do so. As discussed below, § I.B., since

1916, the Commission has exercised the authority Suprema recognized,

and the Commission and this Court have reaffirmed that authority ever

since Congress enacted Section 337’s current language. Third, stare

decisis is at its “acme” for precedent involving “property … rights.”

Payne v. Tennessee, 501 U.S. 808, 828 (1991). “[C]ourts must be

cautious before adopting changes that disrupt the settled expectations

of the inventing community.” Festo Corp. v. Shoketsu Kinzoku Kogyo



                                     7
          Case: 22-1421   Document: 112   Page: 17   Filed: 08/08/2024




Kabushiki Co., 535 U.S. 722, 739 (2002). Sonos and other innovators

and businesses have made countless investments and decisions in

reliance of the Commission’s longstanding authority—exercised

consistently for decades before Suprema, and definitively upheld by

that en banc precedent—to block inducement of post-importation

infringement. See Suprema, 796 F.3d at 1350-52; infra 11-14 & n.1.

Numerous Commission cases, like this one, have been pending for

years—with damages remedies stayed—based on the settled

expectation of an exclusion order that would cover any infringement.

Loper Bright supplies no license to upend this firmly rooted legal

landscape.

     B.      Even without deference, Suprema adopted
             Section 337’s best reading.

     Regardless of statutory stare decisis, Loper Bright does not

warrant revisiting Suprema. To start, Suprema’s result is justified by

non-Chevron deference to the Commission that Loper Bright preserved.

See Loper Bright, 144 S. Ct. at 2262-63, 2273 (retaining Skidmore-type

deference and agency discretion to fill up a statutory scheme’s details

and regulate under certain statutory conditions); see also, e.g., 19 U.S.C.

§ 1335 (Commission’s broad authority). But even without that


                                     8
         Case: 22-1421   Document: 112   Page: 18   Filed: 08/08/2024




deference, this Court should not revisit Suprema because it upheld the

right statutory interpretation.

     Section 337 provides:

        (a)(1) … [T]he following are unlawful, and when found by the
     Commission to exist, shall be dealt with … as provided in this
     section:
        …
           (B) The importation into the United States, the sale for
        importation … by the owner, importer, or consignee, of articles
        that—
              (i) infringe a valid and enforceable United States patent
           ….

19 U.S.C. § 1337(a)(1), (a)(1)(B). Much of what this Court said in

Suprema shows that the Commission’s interpretation was correct.

     1. Suprema correctly points out that the word “infringe” invokes

“the statutory provision defining patent infringement.” 796 F.3d at

1346. “The word ‘infringe’ does not narrow Section 337’s scope to any

particular subsections of § 271,” which “encompasses both direct and

indirect infringement, including infringement by importation that

induces direct infringement.” Id. Nothing in the phrase “articles that

infringe” compels the conclusion that Congress intended to carve out

entire categories of infringement. “To the contrary, various forms of

shorthand references to devices that infringe have often been used



                                    9
         Case: 22-1421   Document: 112   Page: 19   Filed: 08/08/2024




without such narrowed meaning.” Id. at 1347 & n.4 (citing numerous

examples); see, e.g., Water Techs. Corp. v. Calco, Ltd., 850 F.2d 660, 668

(Fed. Cir. 1988) (referring to whether “resins” infringed as a matter of

inducement); Mannesmann Demag Corp. v. Engineered Metal Prods.

Co., 793 F.2d 1279, 1283 (Fed. Cir. 1986) (same for “coils”); Moleculon

Rsch. Corp. v. CBS, Inc., 793 F.2d 1261, 1272 (Fed. Cir. 1986) (same for

“pocket cubes”).

     Suprema also rebutted the argument that “the present-tense use

of the verb ‘infringe’ … exclude[s] inducement of post-importation

infringement because the acts that complete infringement have not all

taken place at the time of importation.” Id. at 1347. This Court

reasoned that the “present-tense language is readily susceptible to

being read as satisfied by the indirect infringer’s own acts, including

importation that is part of inducement.” Id. at 1348 (collecting cases).

That view finds support in this Court’s holding (years before Congress

adopted Section 337’s current language) that inducement “[l]iability

[arises] as of the time the [inducing] acts were committed, not at some

future date determined by the acts of others.” Standard Oil Co. v.




                                    10
         Case: 22-1421    Document: 112   Page: 20   Filed: 08/08/2024




Nippon Shokubai Kagaku Kogyo Co., 754 F.2d 345, 348 (Fed. Cir. 1985)

(emphasis in original).

     Suprema also noted that the alternative reading “would have

produced absurd results” under the “version of § 271(a)” in place when

the current language was enacted. 796 F.3d at 1348. At that point

(pre-1994), that section “did not define importing a patented invention”

as “an infringing act,” but “only … making, using, and selling, and those

actions had to occur in the United States.” Id. “If Congress meant to

forbid the Commission from looking past the time of importation … ,

Section 337 would not have reached even garden-variety direct

infringement.” Id. As this Court said, “[w]e cannot attribute that result

to Congress.” Id.

     2. Suprema also pointed out that the statutory history supported

its reading: In enacting Section 337’s current language in 1988,

“Congress acted against a backdrop of consistent agency and judicial

interpretation emphasizing the breadth of the Commission’s authority.”

796 F.3d at 1351 (collecting authorities; citation omitted).

     Section 337 originally prohibited “unfair methods of competition

and unfair acts in the importation of articles into the United States …



                                     11
         Case: 22-1421   Document: 112   Page: 21   Filed: 08/08/2024




the effect or tendency of which is to destroy or substantially injure an

industry.” Tariff Act of 1930, Pub. L. No. 71-361, § 337, 46 Stat. 590,

703-04. As this Court observed, the Commission’s “consistent

interpretation” was to cover inducement of post-importation

infringement. 796 F.3d at 1351. And this Court had condoned that

approach. Id. (citing Young Eng’rs Inc. v. ITC, 721 F.2d 1305 (Fed. Cir.

1983)). Thus, Suprema itself contradicts Google’s assertion that “there

was no such practice.” Pet. 12. 1


1 Contrary to Google’s assertion (Pet. 12), that practice included

instances where the Commission made no finding regarding substantial
non-infringing use. See, e.g., Certain Inclined-Field Acceleration Tubes,
Inv. No. 337-TA-67, Comm’n Op., 0080 WL 594319, at *7-8 (Dec. 29,
1980) (finding inducement as to claims not directly infringed when
tubes were imported based on later “incorporat[ion] [of] the tubes into
infringing accelerator systems” without making any finding regarding
substantial noninfringing use); Certain Surveying Devices, Inv. No. 337-
TA-68, Comm’n Op., 0080 WL 594364, at *7-10 (July 7, 1980) (finding
inducement when device “used with a plumb bob” without making any
finding regarding substantial non-infringing use). Indeed, Google’s
suggestion that the Commission’s authority to find inducement must be
constrained to where an article has no substantial non-infringing use
defies blackletter patent law: “[T]he existence of a substantial non-
infringing use does not preclude a finding of inducement.” Toshiba
Corp. v. Imation Corp., 681 F.3d 1358, 1364 (Fed. Cir. 2012); accord
Vanda Pharms. Inc. v. W.-Ward Pharms. Int’l Ltd., 887 F.3d 1117, 1133
(Fed. Cir. 2018) (substantial non-infringing use is only a restriction as
to contribution); Certain Molded-in Sandwich Panel Inserts & Methods
for Their Installation, Inv. No. 337-TA-99, Comm’n Op., 1982 WL


                                    12
         Case: 22-1421   Document: 112     Page: 22   Filed: 08/08/2024




     Against this unbroken history, “[t]here is no indication that

Congress, in 1988, meant to contract the Commission’s authority

regarding patent infringement. To the contrary, Congress said it was

expanding Commission authority.” Suprema, 796 F.3d at 1351.

Specifically, in a statutory subsection titled “PURPOSE,” Congress

declared that the aim of the amendment introducing the relevant

statutory language was “to make [Section 337] a more effective remedy

for the protection of United States intellectual property rights.”

Omnibus Trade and Competitiveness Act of 1988, Pub. L. No. 100-418,

§ 1341(b), 102 Stat. 1107, 1211-12.

     Google is, thus, simply wrong that “[n]othing in the legislative

history suggests that Congress intended to grant the Commission

authority to address all violations of Section 271.” Pet. 12. Bolstering

the Commission’s broad exercise of authority—which already reached

the circumstances here—Congress explained that the amendment’s

“fundamental purpose” was to “strengthen the effectiveness of section




61887, at *5 (Apr. 9, 1982) (reciting the restriction only as to
contribution); Causes of Action Under Section 337, USITC GC-G-243,
1983 WL 206913, at *2 (Sept. 30, 1983) (same).

                                      13
         Case: 22-1421   Document: 112   Page: 23   Filed: 08/08/2024




337” against the “importation of articles which infringe U.S. intellectual

property rights.” H.R. Rep. No. 100-40, pt. 1, at 155 (1987).

     If Congress had intended to so extensively curtail the

Commission’s authority, Congress would have said so explicitly, not left

the curtailment up to inference from subtle clues like verb tense. See

United States v. Am. Trucking Ass’ns, 310 U.S. 534, 550 (1940), cited

with approval in Loper Bright, 144 S. Ct. at 2262, 2269.

     That was how the Commission understood the 1988 amendment

at the time, which is salient because, even in a post-Chevron regime,

“interpretations issued contemporaneously with the statute at issue,

and which have remained consistent over time, may be especially useful

in determining the statute’s meaning.” Loper Bright, 144 S. Ct. at 2262;

see, e.g., Cathedral Candle Co. v. ITC, 400 F.3d 1352, 1365-67 (Fed. Cir.

2005) (adopting the Commission’s interpretation of a statute based on

Skidmore deference when Chevron deference did not apply, relying in

part on the interpretation’s timing and consistency).

     3. Suprema also explained that the narrow reading of Section 337

that Google presses would not achieve Congress’s evident objective. It

would “weaken[] the Commission’s overall ability to prevent unfair



                                    14
            Case: 22-1421   Document: 112   Page: 24   Filed: 08/08/2024




trade acts involving infringement of a U.S. patent.… [T]he practical

consequence would be an open invitation to foreign entities (which

might for various reasons not be subject to a district court injunction) to

circumvent Section 337 by importing articles in a state requiring post-

importation combination or modification before direct infringement

could be shown.” Suprema, 796 F.3d at 1352. Suprema thus also

rebuts Google’s position that Congress would have been comfortable

curtailing the Commission’s power “because district courts remain

available to enjoin and award damages for any inducement … or

contribution.” Pet. 12-13.

II.   This Case Is the Wrong Vehicle For Reconsidering
      Suprema.

      Even if this Court wishes to reconsider Suprema, this case is the

wrong vehicle for two reasons: (1) the absence of any panel opinion

fleshing out the details of post-Chevron statutory interpretation; and

(2) mootness. As Google points out, Pet. 13-14, Commission

investigations are increasingly popular, which will give this Court

ample opportunity to decide the issue in the context of more suitable

vehicles.




                                       15
         Case: 22-1421   Document: 112   Page: 25   Filed: 08/08/2024




     1. It is very rare that this Court decides an issue en banc without

the benefit of a panel opinion—often multiple panel opinions—working

through the legal intricacies. There is good reason not to do so here.

     To start, Loper Bright is a paradigm shift. It raises many

questions about how statutory interpretation should proceed post-

Chevron, including how to apply areas of deference that the Supreme

Court acknowledged remain. See Loper Bright, 144 S. Ct. at 2262-63,

2267, 2273. This Court would benefit from allowing panels to wrestle

with those questions. And if Suprema requires reconsideration, this

Court would especially benefit from panel analysis of Section 337’s

construction under evolving post-Chevron principles. Of course, only an

en banc court can actually override an earlier precedential opinion. But

giving panels the first at-bat will conserve court resources, avoid

unnecessary en banc proceedings, and develop the law in an orderly

fashion. See, e.g., Enzo Biochem, Inc. v. Gen-Probe Inc., 323 F.3d 956,

976 (Fed. Cir. 2002) (Dyk, J., concurring in denial of rehearing en banc)

(questions may “benefit from further percolation … before they are

addressed by the full court”).




                                    16
         Case: 22-1421   Document: 112   Page: 26   Filed: 08/08/2024




     2. Because of a combination of patent expiration and alternative

bases of infringement, there is only one patent—the ’896 patent—that

even implicates post-importation infringement. That one patent, too, is

on the verge of expiration—only 10 months of life remain—and might

well be moot well before this Court can resolve an en banc case.

     Google concedes that this case is moot as to the three expired

patents. Pet. 5, 6 n.2. But it wrongly suggests that infringement of

both the ’959 and ’896 patents rests on Suprema. Pet. 2-3, 5-6. That

assertion ignores the Commission’s finding that Google’s products

infringed the ’959 patent at importation, without any post-importation

conduct—a finding that Google did not appeal and that the panel did

not reverse. Appx170-173; GBr.50-51; Add15-25. The Commission

explained that the ’959 claims do not require a device to actually enter a

pairing with another device; they merely require a device “capable of

carrying out” claimed functionality. Appx171. Google’s products

infringed because the requisite “capability is present at the time of

importation by virtue of the software installed on the devices.”

Appx171; cf. Appx19-20 (rejecting Google’s challenge to infringement of

the ’258 and ’953 patents for the same reason). Because the



                                    17
         Case: 22-1421   Document: 112   Page: 27   Filed: 08/08/2024




Commission’s ’959 infringement finding did not rely on post-importation

conduct, en banc review of Suprema could only affect the ’896 patent.

     The ’896 patent is set to expire in under 10 months—already a

tight timeline to resolve an en banc proceeding. And Sonos may moot

the issue well before then for reasons related to the stayed damages

case. As explained above (at 4), Sonos derives no benefit from the

exclusion order on the ’896 patent and is eager to proceed with a

damages action. Sonos’s upcoming motion on the three already-expired

patents may begin progress toward the long-awaited damages trial. See

supra 4. If, however, the district court declines to allow the case to

proceed because this appeal remains alive, Sonos will stipulate to non-

enforcement of the exclusion order with respect to the ’896 patent. That

in turn will moot the Suprema issue altogether.

     This is simply a matter of priorities. Despite Sonos’s best efforts

to move quickly, this proceeding and the stayed district-court litigation

are approaching their fifth birthday. With most of the patents expired

and the exclusion order providing little value, it is simply not worth

investing in an expensive appeal to defend the exclusion order’s

remaining stub, if the price is further delay of the damages action.



                                    18
         Case: 22-1421   Document: 112   Page: 28   Filed: 08/08/2024




                                   ***

     Given Suprema’s minimal practical importance to this case and

the likelihood of mootness, nothing will be lost and much may be gained

by withholding en banc review here. If Suprema is ever to be

reconsidered en banc, it should be in the context of a case where this

Court can review a panel opinion informed by the development of the

Loper Bright framework, the result matters to the outcome, and the

case will stay alive long enough for the Court to resolve the issue.




                                    19
       Case: 22-1421   Document: 112     Page: 29   Filed: 08/08/2024




                           CONCLUSION

    Rehearing should be denied.

August 8, 2024                         Respectfully submitted,
                                       /s/ E. Joshua Rosenkranz
George I. Lee                          E. Joshua Rosenkranz
Sean M. Sullivan                       Edmund Hirschfeld
J. Dan Smith                           Alexandra Bursak
LEE SULLIVAN SHEA &                    ORRICK, HERRINGTON &
  SMITH LLP                              SUTCLIFFE LLP
656 W Randolph St., Floor 5W           51 West 52nd Street,
Chicago, IL 60661                      New York, NY 10019
                                       (212) 506-5000
Bas de Blank                           jrosenkranz@orrick.com
ORRICK, HERRINGTON &
  SUTCLIFFE LLP                        Robbie Manhas
1000 Marsh Road                        Abigail Colella
Menlo Park, CA 94025                   ORRICK, HERRINGTON &
                                         SUTCLIFFE LLP
Alyssa M. Caridis                      2100 Pennsylvania Avenue, NW
ORRICK, HERRINGTON &                   Washington, DC 20037
  SUTCLIFFE LLP
355 S. Grand Avenue                    Clement S. Roberts
Suite 2700                             ORRICK, HERRINGTON &
Los Angeles, CA 90071                    SUTCLIFFE LLP
                                       405 Howard Street
                                       San Francisco, CA 94105

            Counsel for Appellant-Intervenor Sonos, Inc.




                                  20
        Case: 22-1421   Document: 112   Page: 30   Filed: 08/08/2024




                 CERTIFICATE OF COMPLIANCE

     The response complies with the type-volume limitation of Fed. Cir.

R. 35(e)(2) because this response contains 3591 words.

     This response complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type style requirements of Fed. R. App. P.

32(a)(6) because this response has been prepared in a proportionally

spaced typeface using Microsoft Word for Microsoft 365 in Century

Schoolbook 14-point font.

                              ORRICK, HERRINGTON & SUTCLIFFE LLP

                              /s/ E. Joshua Rosenkranz
                              E. Joshua Rosenkranz
                              Counsel for Sonos, Inc.
